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     In re the Marriage of Petitioner Alexandra Marshall,  and  Terrence Marshall. Respondent No. 24SC208Supreme Court of Colorado, En BancNovember 4, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 22CA1579
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
      JUSTICE BOATRIGHT would grant as to the following issue
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Whether
      the court of appeals' opinion conflicts with its previous
      holding in In re Marriage of Marson, 929 P.2d 51
      (Colo. A p p . 1996), where the court interpreting the same
      statutory language allowed the obligee parent to exclude
      income from additional jobs.
    